Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.107 Filed 01/19/24 Page 1 of 26




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

LISA DOMSKI,

            Plaintiff,                     Case No. 2:23-cv-12023

v.                                         Hon. David M. Lawson

BLUE CROSS BLUE SHIELD                     Mag. Elizabeth A. Stafford
OF MICHIGAN,

            Defendant.

 Noah S. Hurwitz (P74063)                   Scott R. Knapp (P61041)
 Grant M. Vlahopoulos (P85633)              Brandon C. Hubbard (P71085)
 HURWITZ LAW PLLC                           Nolan J. Moody (P77959)
 Attorney for Plaintiff                     Maureen J. Moody (P85032)
 340 Beakes St., Ste. 125                   DICKINSON WRIGHT PLLC
 Ann Arbor, Michigan 48104                  Attorneys for Defendant
 (844) 487-9489                             123 W. Allegan St., Ste. 900
 noah@hurwitzlaw.com                        Lansing, Michigan 48933
 grant@hurwtizlaw.com                       (517) 371-1730
                                            sknapp@dickinsonwright.com
                                            bhubbard@dickinsonwright.com
                                            nmoody@dickinsonwright.com
                                            mmoody@dickinsonwright.com

                                            Michelle R. Heikka (P66122)
                                            Rudolph P. Makupson (P73646)
                                            600 E. Lafayette Blvd., Ste. 1925
                                            Detroit, Michigan 48266
                                            (313) 983-2554
                                            mheikka@bcbsm.com
                                            rmakupson@bcbsm.com
                                            Attorneys for Defendant

           There is no other pending or resolved civil action arising out
       of this transaction or occurrence alleged in the Amended Complaint.

                                       1
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.108 Filed 01/19/24 Page 2 of 26




               AMENDED COMPLAINT AND JURY DEMAND

      Plaintiff Lisa Domski (“Plaintiff”), by and through her attorneys, HURWITZ

LAW PLLC, states the following for her Amended Complaint against Defendant

Blue Cross Blue Shield of Michigan (“Defendant”). Pursuant to Fed. R. Civ. P.

15(a)(2), Defendant provided written consent on January 19, 2024, for Plaintiff to

file her Amended Complaint.

                                 INTRODUCTION

      1.     Plaintiff submitted a religious accommodation request and apprised

Defendant that her religious beliefs conflict with Defendant’s mandatory COVID-

19 vaccine policy. Ex. A. Plaintiff informed Defendant that her religious conviction

is informed by the Christian faith and the Bible, and her religious beliefs prevent her

from receiving the COVID-19 vaccine because Plaintiff cannot inject her body, the

“temple of the Holy Spirit,” with a vaccine that was “either developed or tested using

fetal cells that originated in abortion.” Id. Plaintiff believes that “abortion is murder

and a sin against God” because “human life begins at conception” and “the sanctity

of life is precious to God.” Id. Therefore, Plaintiff morally and ethically opposes

the COVID-19 vaccine through her Christan religious beliefs. Id. Defendant denied

Plaintiff religious accommodation request and claimed she did not have a “sincerely

held religious belief.” Plaintiff and approximately 250 other employees who sought

religious accommodation from Defendant’s COVID-19 vaccine policy were


                                           2
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.109 Filed 01/19/24 Page 3 of 26




terminated on January 5, 2022. Defendant accommodated and favored employees

with different religious beliefs than Plaintiff, thereby discriminating against her.

                         PARTIES AND JURISDICTION

      2.     Plaintiff is an individual residing in Wyandotte, Michigan.

      3.     Defendant is a domestic nonprofit organization with a principal place

of business located at 600 E. Lafayette Blvd., Detroit.

      4.     Plaintiff’s claims arise out of Defendant’s violation of Title VII of the

Civil Rights Act of 1964, 42 U.S.C. § 2000e and the Elliott-Larsen Civil Rights Act

(“ELCRA”) 28 U.S.C. § 1367.

      5.     This Court has general federal question jurisdiction pursuant to 28

U.S.C. § 1331 and supplemental jurisdiction over the state law claim.

      6.     This matter is not subject to arbitration.

      7.     Venue is proper under 28 U.S.C. § 1391 because this is the judicial

district where a substantial part of the events giving rise to the claims occurred.

      8.     Plaintiff filed an Equal Employment Opportunity Commission

(“EEOC”) Charge of Discrimination alleging religious discrimination and retaliation

on February 25, 2022.

                           FACTUAL ALLEGATIONS

      9.     Defendant employed Plaintiff from March 10, 2008, until her

termination effective January 5, 2022 with her most recent position being IT Process


                                           3
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.110 Filed 01/19/24 Page 4 of 26




Specialist II.

                        Defendant’s Mandatory Vaccine Policy

       10.       On or about November 1, 2021, Defendant announced a mandatory

COVID-19 vaccine policy for all employees and contractors, including those

working remotely.

       11.       Defendant’s mandatory COVID-19 vaccine policy required employees

to receive at least the first dose of a two-dose vaccine by December 8, 2021, and to

be fully vaccinated by January 4, 2022 (or have an approved medical or religious

accommodation by that date).

       12.       Employees denied accommodation were automatically placed on

unpaid leave of absence until termination on January 5, 2022.

       13.       Defendant’s accommodation process was arbitrary and woefully

inconsistent.

       14.       Defendant’s Director of Employee and Labor Relations, Bart

Feinbaum, was responsible for deciding which employees received religious and

medical accommodations to be exempt from the COVID-19 vaccine.

       15.       Mr. Feinbaum told other employees in management that he doubted the

validity of any religious accommodation request.

       16.       Indeed, during a human resources meeting, Mr. Feinbaum indicated

that after performing personal research, and without consulting any religious leaders,


                                           4
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.111 Filed 01/19/24 Page 5 of 26




that he believed that the three major religions (Christianity, Judaism, and Islam) all

allow for vaccination against COVID-19.

      17.    During the same human resources meeting, Mr. Feinbaum declared that

Defendant’s religious accommodation interviews would be conducted like “mini

depositions.”

      18.    Mr. Feinbaum stated that the goal of Defendant’s interview process was

to pressure employees to get vaccinated against COVID-19.

      19.    Defendant’s management directed the employees who would be

conducting the religious accommodation interviews that Defendant was not allowed

to accept all religious accommodation requests.

      20.    Defendant conducted a series of ambush-style interrogations with

employees who submitted religious and medical accommodation requests.

      21.    Defendant’s employees were not informed of questions ahead of time.

      22.    Attorneys for Defendant questioned employees, but employees were

not allowed to be represented by legal counsel during questioning.

      23.    The interviewees were told that the interviews had a maximum time of

fifteen (15) minutes in duration.

      24.    When employees asked questions, they were warned to just “answer the

questions” or else they would be denied accommodation.

      25.    The interviewees were threatened to keep their answers short and to the


                                          5
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.112 Filed 01/19/24 Page 6 of 26




point because time was “running out” and time was “limited.”

      26.   Defendant told interviewees that it had not reviewed their written

accommodation requests.

      27.   Defendant denied accommodation to interviewees with language

barriers and/or difficulty answering questions due to medical conditions.

      28.   Defendant asked employees the following questions:

            a.     Do you feel like the COVID-19 vaccines were rushed?
            b.     What do you do when you are in physical pain?
            c.     Do you take Aspirin, Sudafed, Tums, or Tylenol?
            d.     Do your beliefs prevent you from receiving medical treatments?
            e.     Do you have a primary care physician?
            f.     Has your doctor ever prescribed medication?
            g.     What would you do if your doctor prescribed medication?
            h.     What medication have you taken?
            i.     Have you always followed this religious belief?
            j.     When was the last time you received a vaccination?

      29.   Employees were told that over-the-counter medications like Tylenol

and Tums were developed and manufactured using stem cells.

      30.   However, the over-the-counter medications referenced by Defendant

were developed decades before stem cell research was conducted.

      31.   Moreover, many of Defendant’s employees were objecting to the

COVID-19 for religious reasons that had nothing to do with stem cell research.

      32.   Defendant terminated approximately 250 employees who requested a

religious accommodation to the COVID-19 vaccine on January 5, 2022.

      33.   Defendant incentivized employees to retire early in 2020 in order to

                                         6
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.113 Filed 01/19/24 Page 7 of 26




reduce staffing costs, but Defendant did not have to eliminate jobs in 2021 because

it terminated unvaccinated employees.

      34.     Defendant touted on job recruiting websites that it required COVID-19

vaccination with “no exemptions.”

      35.     Employees denied accommodation to the vaccine mandate were forced

into the horrible position of choosing between vaccination or termination:

              Forcing individuals to choose between their faith and their
              livelihood imposes an obvious and substantial burden on
              religion . . . vaccine mandates . . . presents a crisis of
              conscience for many people of faith. It forces them to
              choose between the two most profound obligations they
              will ever assume—holding true to their religious
              commitments and feeding and housing their children. To
              many, this is the most horrifying of Hobson’s choices.

Sambrano v. United Airlines, Inc., 19 F.4th 839, 841 (5th Cir. 2021).

      36.     Defendant terminated remote employees who remained unvaccinated

despite those employees posing no discernible risk to their coworkers.

                  Plaintiff’s Religious Accommodation Request

      37.     Plaintiff seeks to make all decisions through faith-based discernment

and prayer.

      38.     Plaintiff is a member of the Catholic Church.

      39.     Plaintiff submitted a religious exemption request to Defendant’s

mandatory COVID-19 vaccine policy.            Ex. A, Plaintiff’s Written Religious

Accommodation Request.

                                          7
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.114 Filed 01/19/24 Page 8 of 26




      40.   Plaintiff’s religious accommodation request states:

            I am not able to receive this vaccine due to my sincerely
            held personal religious beliefs and the sanctity of my
            conscience. I have provided reasons why this policy
            violates my Christian faith and why I cannot, in good
            conscience, take part in it.

            It is my sincere personal religious belief that human life
            begins at conception, that the sanctity of life is precious
            to God and that it is a moral sin to destroy innocent
            human life.

            The three COVID vaccines were either developed or
            tested using fetal cells that originated in abortion. My
            religious view has always been and continues to be that
            abortion is murder and a sin against God. I must
            consider the moral aspects of the use of all vaccines
            that have connection to fetal cell lines obtained from an
            abortion.

            As a Christian, I live life everyday through my faith in
            God and the Bible, which I believe to be God’s revealed
            and inspired Word (2 Timothy 3:12-17).             In 1
            Corinthians 6:19-20, the Apostle Paul addresses
            Christians about the importance of their bodies: “Or
            do you not know that your body is the temple of the
            Holy Spirit who is in you, whom you have from God?
            You are not your own, for you were bought with a
            price. Therefore, glorify God in your body.” It is my
            utmost belief that my body belongs to God and my
            sincerely held personal religious belief that God will
            heal my temple by living my faith and trusting in
            God—not man.

            These scriptures and my personal religious beliefs are a
            few examples of why I must honor God with my body,
            mind, and spirit. I have been a Christian for many years
            and my beliefs are genuine and sincere. I have done my
            best to live by the Bible’s teachings my entire life. I firmly

                                          8
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.115 Filed 01/19/24 Page 9 of 26




             believe that to go against these teachings, would be a
             terrible sin and distance my relationship with God.

             Through the power of the prayer and the guidance of the
             Holy Spirit, I have prayed about how to respond to the
             COVID-19 vaccine requirement. The Holy Spirit has
             spoken to me through my heart that I must not accept the
             vaccine. If I go against the guidance of the Holy Spirt
             I would be sinning and violating the sanctity of my
             conscience.

             Therefore, I am requesting a religious accommodation to
             my sincerely held personal religious beliefs that I cannot
             take part in any the available COVID-19 vaccines.

      41.    Plaintiff’s accommodation request incorporated Christian scripture, 2

Timothy 3:12-17, to explain that Plaintiff believes in God and the Bible.

      42.    Plaintiff derives her morals and conscience from Jesus Christ the Bible.

      43.    Plaintiff believes that “human life begins at conception” and “the

sanctity of life is precious to God.”

      44.    Plaintiff’s accommodation request makes it clear that she believes

injecting her body with the COVID-19 vaccine, which contains aborted fetal cells,

is an immoral “sin” against God because “abortion is murder,” and Plaintiff sincerely

holds that belief with the strength of her religious views.

      45.    Plaintiff informed Defendant that her Christian beliefs oppose abortion

and the use of aborted fetal tissue in the COVID-19 vaccines. Plaintiff believes it is

a sin to inject her body with a vaccine that was developed using aborted fetuses.

      46.    Plaintiff’s accommodation request cited 1 Corinthians 6:19-20 to

                                          9
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.116 Filed 01/19/24 Page 10 of 26




explain her religious belief that her body is a “temple of the Holy Spirit,” and she

“must honor God with [her] body.”

       47.    Plaintiff’s religious beliefs forbid her from accepting any medical

product or vaccine with knowledge that it was developed or tested using aborted

fetal cell lines.

       48.    Plaintiff’s religious practice to refuse vaccination constitutes a moral

and ethical belief in her own scheme of things that is sincerely held through her

Christian faith.

       49.    Plaintiff’s religious beliefs therefore conflict with Defendant’s

employment policy requiring vaccination from COVID-19.

       50.    Plaintiff’s religious accommodation request did not seek to avoid other

employment requirements or COVID-19 safety protocols. Plaintiff only sought

accommodation from the COVID-19 vaccine requirement.

       51.    Plaintiff gave Defendant as much notice as it requested of the conflict

between her religious beliefs and its vaccine requirement.

       52.    Defendant interviewed Plaintiff regarding her religious beliefs.

       53.    Ultimately, Defendant denied Plaintiff’s religious accommodation

request, claiming she did not “meet the criteria for an exemption due to a sincerely

held religious belief, practice, or observance[.]”

       54.    Defendant subjectively cast doubt on Plaintiff’s religious beliefs.


                                          10
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.117 Filed 01/19/24 Page 11 of 26




      55.    Plaintiff, maintaining her sincerely held religious beliefs, did not

receive the vaccine, and was subsequently placed on unpaid leave.

      56.    Plaintiff was ultimately terminated effective January 5, 2022.

      57.    The religious accommodation process mandates “bilateral cooperation”

between employer and employee. Ansonia Bd. of Educ. v. Philabrook, 479 U.S. 60,

69 (1986).

      58.    No such “bilateral cooperation” occurred during Defendant’s

interrogation of its employees or otherwise during the process.

      59.    The United States Equal Employment Opportunity Commission tells

employers that a prototypical example of reasonable accommodation to the vaccine

is being “given the opportunity to telework.” U.S. EQUAL EMPL. OPPORTUNITY

COMM’N, What You Should Know About COVID-19 and the ADA, the Rehabilitation

Act, and Other EEO Laws (May 28, 2021). “If the employer denies the employee’s

proposed accommodation, the employer should explain to the employee why the

preferred accommodation is not being granted.” Id. (Mar. 1, 2022).

      60.    President Daniel J. Loepp announced on or about December 7, 2021: “I

want to thank all employees who are or are in the process to become fully vaccinated

and encourage any employee who is not vaccinated to consider doing so.”

      61.    President Daniel J. Loepp told Defendant’s employees in the weeks

prior to the vaccination deadline that he anticipated denying accommodation


                                        11
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.118 Filed 01/19/24 Page 12 of 26




requests and terminating many employees.

      62.    Plaintiff was an excellent performer of her job duties.

      63.    Title VII’s statutory definition of “religion” includes “all aspects of

religious observance and practice, as well as belief.” 42 U.S.C. § 2000e(j).

      64.    The U.S. Equal Employment Opportunity Commission (“EEOC”)

advises employers to “ordinarily assume that an employee’s request for religious

accommodation is based on sincerely held religious belief, practice, or observance.”

U.S. EQUAL EMPL. OPPORTUNITY COMM’N, What You Should Know About COVID-

19 and the ADA, the Rehabilitation Act, and Other EEO Laws (May 28, 2021).

      65.    An individual’s testimony about his or her belief “must be given great

weight” and is enough to demonstrate sincerity. Seeger, 380 U.S. at 184 (1965).

      66.    Plaintiff’s religious conviction is highlighted by the fact she remained

unvaccinated in the face of termination, losing her livelihood in the process.

            Defendant Did Not Base Its Decision on Undue Hardship,
                   Nor Could It Establish Undue Hardship

      67.    The prohibition against religious discrimination imposes a “duty” on

employers to accommodate the sincere religious observances of employees, absent

a showing of “undue hardship.” Trans World Airlines, Inc. v. Hardison, 432 U.S.

63, 74 (1977).

      68.    An employer does not satisfy its burden of proving undue hardship

“merely by showing that an accommodation would be bothersome to administer.”

                                         12
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.119 Filed 01/19/24 Page 13 of 26




Draper v. United States Pipe & Foundry Co., 527 F.2d 515, 520 (6th Cir.1975).

      69.    Defendant is not claiming undue hardship.

      70.    Defendant cannot allege undue hardship when other employees

performing similar job duties were granted religious and medical accommodations

to the vaccine.

                               COUNT I
            Violation of Title VII, 42 U.S.C. § 2000e, et seq.
    RELIGIOUS DISCRIMINATION – FAILURE TO ACCOMMODATE

      71.    Plaintiff restates the foregoing paragraphs as set forth fully herein.

      72.    At all times relevant hereto, Plaintiff was an employee and Defendant

was her employer for the purposes of 42 U.S.C. § 2000e, et seq.

      73.    Title VII of the Civil Rights act of 1964, 42 U.S.C. § 2000e et seq.,

makes it unlawful for an employer to fail or refuse to reasonably accommodate the

religious beliefs and practices of an employee or prospective employee.

      74.    Title VII prohibits an employer from discriminating against an

employee “because of such individual’s... religion.” 42 U.S.C. § 2000e-2(a)(1).

      75.    This “includes all aspects of religious observance and practice, as well

as belief, unless an employer demonstrates that [it] is unable to reasonably

accommodate an employee’s... religious observance or practice without undue

hardship on the conduct of the employer’s business.” Id. § 2000e(j).

      76.    After receiving an accommodation request, “the employer is obligated


                                          13
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.120 Filed 01/19/24 Page 14 of 26




by law to engage in interactive process – a meaningful dialogue with the

employee[.]” Chevron Phillips Chem. Co., 570 F.3d at 621 (5th Cir. 2009).

      77.   The employer must act in “good faith,” Id., and the employee must

“make a good faith attempt to satisfy his needs through means offered by the

employer,” Brener v. Diagnostic Ctr. Hosp., 671 F.2d 141, 146 (5th Cir. 1982).

      78.   Title VII makes it unlawful for an employer to retaliate against an

employee who engaged in protected activity.

      79.   Plaintiff holds sincere bona fide religious beliefs that preclude her from

receiving a COVID-19 vaccine. Ex. A.

      80.   Plaintiff informed Defendant of those beliefs and requested religious

accommodation from the vaccine mandate. Id.

      81.   Defendant refused to engage in the interactive process with Plaintiff

regarding her religious accommodation requests.

      82.   Under Title VII, Plaintiff can establish a prima facie case of religious

discrimination based on a failure to accommodate by showing: (1) she has a bona

fide religious belief that conflicts with an employment requirement; (2) about which

she informed the [Defendant]; and (3) she suffered an adverse employment action

for failing to comply with the conflicting employment requirement. Ansonia Bd. of

Educ. v. Philbrook, 479 U.S. 60, 69 (1986).

      83.   Multiple accommodations could have been offered to Plaintiff. They


                                        14
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.121 Filed 01/19/24 Page 15 of 26




include mask wearing and periodic testing for COVID-19—the very same

accommodations being offered to virtually every public and private employee in the

State of Michigan.

      84.   A “[r]easonable accommodation is by its terms most logically

construed as that which presently, or in the immediate future, enables the employee

to perform the essential functions of the job in question.” Myers v. Hose, 50 F.3d

278, 283 (4th Cir. 1995).

      85.   Defendant would not suffer undue hardship by granting Plaintiff

accommodation. 42 U.S.C. § 2000e(j).

      86.   The issue became moot when Defendant failed to engage each

employee in “a meaningful dialogue” about the accommodation request and learn

whether an acceptable accommodation would impose undue hardship. Chevron

Phillips Chem. Co., 570 F.3d at 621 (5th Cir. 2009).

      87.   Instead, Defendant announced a one-size-fits all approach to

accommodation that deprived Plaintiff of the conversation necessary to discover

what accommodations were possible. Bultemeyer v. Fort Wayne Cmty. Schs., 100

F.3d 1281, 1285 (7th Cir. 1996) (“courts should look for signs of failure to

participate in good faith or failure by one of the parties to help the other party

determine what specific accommodations are necessary” and “[a] party that fails to

communicate... may also be acting in bad faith”).


                                        15
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.122 Filed 01/19/24 Page 16 of 26




      88.    Irrespective of the interactive process, Defendant failed to provide

Plaintiff with reasonable accommodations for her religious beliefs.

      89.    Defendant thereby discriminated against Plaintiff because of her

religious beliefs.

      90.    Defendant’s failure to provide religious accommodations has harmed

and will continue to harm Plaintiff.

      91.    As a direct and proximate result of Defendant’s violation of Title VII

Plaintiff has suffered emotional and physical distress, mental and physical anguish,

loss of reputation, humiliation and embarrassment, and the physical effects

associated therewith, and will so suffer in the future.

      92.    As a further direct and proximate result of Defendant’s violation of

Title VII, Plaintiff has been denied employment and placed in financial distress and

have suffered a loss of earnings and benefits, and a loss of and impairment of their

earning capacity and ability to work and will so suffer in the future; she has

been required to employ the services of an attorney to bring this lawsuit and will

suffer additional damages in the future.

      93.    By failing to engage in the interactive process or offer any reasonable

accommodation, Defendant’s discriminatory actions were intentional and/or

reckless and in violation of Title VII.

                                        COUNT II
                     Violation of Title VII, 42 U.S.C. § 2000e, et seq.

                                            16
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.123 Filed 01/19/24 Page 17 of 26




               DISPARATE TREATMENT DISCRIMINATION

      94.    Plaintiff restates the foregoing paragraphs as set forth fully herein.

      95.     “To assert a successful claim of religious discrimination . . . a plaintiff

must either present direct evidence of discrimination, or, in the absence of direct

evidence, present a prima facie case of indirect discrimination by showing (1) they

were a member of a protected class, (2) they experienced an adverse employment

action (3) they were qualified for the position, and (4) they were replaced by a person

outside of the protected class or were treated differently than similarly situated

employees.” Tepper v. Potter, 505 F.3d 508, 515 (6th Cir. 2007).

      96.    Plaintiff espoused religious beliefs and is therefore a member of a

protected class.

      97.    Defendant directly discriminated against Plaintiff by terminating her

after she stated her sincerely held religious beliefs that conflicted with Defendant’s

subjected standard of religiosity.

      98.    Defendant allowed other unvaccinated employees without Plaintiff’s

same religious beliefs to be exempted from Defendant’s vaccine mandate policy.

      99.    Defendant placed Plaintiff on unpaid suspension before ultimately

terminating employment.

      100. It is undisputed that Plaintiff was qualified for the position.

      101. Plaintiff was treated differently than similarly situated employees with


                                          17
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.124 Filed 01/19/24 Page 18 of 26




different religious beliefs who were allowed to continue working despite not being

vaccinated.

      102. Plaintiff was terminated and replaced with a person of different

religious beliefs.

      103. Plaintiff has suffered emotional and physical distress, mental and

physical anguish, loss of reputation, humiliation, embarrassment, and the physical

effects associated therewith because of the denial of their requests and will so suffer

in the future.

                        COUNT III
           VIOLATION OF ELCRA, MCL 37.2101, et seq.
   DISPARATE TREATMENT AND INTENTIONAL DISCRIMINATION

      104. Plaintiff incorporates the foregoing paragraphs by reference herein.

      105. Plaintiff holds sincere religious beliefs that conflict with Defendant’s

COVID-19 vaccine mandate.

      106. Plaintiff informed Defendant how these sincerely held religious beliefs

conflicted with Defendant’s COVID-19 vaccine mandate.

      107. “To assert a successful claim of religious discrimination . . . a plaintiff

must either present direct evidence of discrimination, or, in the absence of direct

evidence, present a prima facie case of indirect discrimination by showing that the

employee (1) was a member of a protected class; (2) experienced an adverse

employment action; (3) was qualified for the position; and (4) was replaced by a


                                          18
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.125 Filed 01/19/24 Page 19 of 26




person outside of the protected class or that the employee was treated differently

than similarly situated employees.” Tepper v. Potter, 505 F.3d 508, 515 (6th Cir.

2007).

      108. Defendant directly discriminated against Plaintiff based on termination

after the employee espoused sincerely held religious beliefs that conflicted with

Defendant’s policy.

      109. Defendant allowed other unvaccinated employees without Plaintiff’s

same religious beliefs to be exempted from Defendant’s vaccine mandate policy.

      110. Plaintiff’s sincerely held religious beliefs qualify the employee as a

member of a protected class.

      111. Defendant placed Plaintiff on unpaid suspension before ultimately

terminating Plaintiff.

      112. Plaintiff was qualified for the position.

      113. Plaintiff was treated differently than similarly situated employees with

different religious beliefs who were allowed to continue working despite being

unvaccinated.

      114. Plaintiff was terminated and replaced with a person of different

religious beliefs.

      115. Defendant also terminated Plaintiff based on Defendant’s own

subjective standard of religiosity, thus directly discriminating against Plaintiff’s


                                        19
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.126 Filed 01/19/24 Page 20 of 26




unique sincerely held spiritual beliefs.

      116. EEOC Guidance states that (“[t]he definition of ‘religion’ under Title

VII protects both traditional and nontraditional religious beliefs . . . including those

that may be unfamiliar to employers.”)

      117. The law on religious discrimination states that religious beliefs need not

be “acceptable, logical, consistent or comprehensible to others” and the law “leaves

little room for a party to challenge the religious nature of an employee’s professed

beliefs.”). E.E.O.C. v. Union Independiente de la Autoridad de Acueductos y

Alcantarillados de Puerto Rico, 279 F.3d 49, 56 (1st Cir. 2002).

      118. Defendant defied the law when it determined that some religious beliefs

of its employees were valid and while others were bogus.

      119. In discovery, Plaintiff will be able to investigate which types of

religious beliefs Defendant found were acceptable and which types of religious

beliefs Defendant discriminated against, thereby establishing evidence probative of

discriminatory intent.

      120. Plaintiff has suffered emotional and physical distress, mental and

physical anguish, loss of reputation, humiliation, embarrassment, and the physical

effects associated therewith because of the termination and will so suffer in the

future.




                                           20
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.127 Filed 01/19/24 Page 21 of 26




                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff requests the following relief:

      a.    Compensatory damages for monetary and non-monetary loss;

      b.    Exemplary and punitive damages;

      c.    Prejudgment interest;

      d.    Attorneys’ fees and costs; and

      e.    Such other relief as in law or equity may pertain.

                                             Respectfully Submitted,

                                             HURWITZ LAW PLLC

                                             /s/ Noah S. Hurwitz
                                             Noah Hurwitz (P74063)
                                             Attorney for Plaintiff
                                             340 Beakes St., Ste. 125
                                             Ann Arbor, MI 48104
                                             (844) 487-9489
                                             noah@hurwitzlaw.com
Dated: January 19, 2024




                                        21
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.128 Filed 01/19/24 Page 22 of 26




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

LISA DOMSKI,

            Plaintiff,                   Case No. 2:23-cv-12023

v.                                       Hon. David M. Lawson

BLUE CROSS BLUE SHIELD                   Mag. Elizabeth A. Stafford
OF MICHIGAN,

            Defendant.

 Noah S. Hurwitz (P74063)                 Scott R. Knapp (P61041)
 Grant M. Vlahopoulos (P85633)            Brandon C. Hubbard (P71085)
 HURWITZ LAW PLLC                         Nolan J. Moody (P77959)
 Attorney for Plaintiff                   Maureen J. Moody (P85032)
 340 Beakes St., Ste. 125                 DICKINSON WRIGHT PLLC
 Ann Arbor, Michigan 48104                Attorneys for Defendant
 (844) 487-9489                           123 W. Allegan St., Ste. 900
 noah@hurwitzlaw.com                      Lansing, Michigan 48933
 grant@hurwtizlaw.com                     (517) 371-1730
                                          sknapp@dickinsonwright.com
                                          bhubbard@dickinsonwright.com
                                          nmoody@dickinsonwright.com
                                          mmoody@dickinsonwright.com

                                          Michelle R. Heikka (P66122)
                                          Rudolph P. Makupson (P73646)
                                          600 E. Lafayette Blvd., Ste. 1925
                                          Detroit, Michigan 48266
                                          (313) 983-2554
                                          mheikka@bcbsm.com
                                          rmakupson@bcbsm.com
                                          Attorneys for Defendant
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.129 Filed 01/19/24 Page 23 of 26




                      DEMAND FOR TRIAL BY JURY

       Plaintiff, Lisa Domski, by and through her attorneys, HURWITZ LAW

PLLC, hereby demands a trial by jury in the above-captioned matter for all issues

triable.

                                                 Respectfully Submitted,

                                                 HURWITZ LAW PLLC
                                                 /s/ Noah S. Hurwitz
                                                 Noah S. Hurwitz (P74063)
                                                 Attorney for Plaintiff
Dated: January 19, 2024




                                       2
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.130 Filed 01/19/24 Page 24 of 26




                         Ex. A
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.131 Filed 01/19/24 Page 25 of 26




11/10/2021



    Employee Request for Religious Accommodation to
                  COVID-19 Vaccine
To Whom It May Concern,
I am writing to formally request a religious accommodation from Blue Cross Blue
Shield of Michigan’s COVID-19 vaccination requirement. I am not able to receive
this vaccine due to my sincerely held personal religious beliefs and the sanctity of
my conscience. I have provided reasons why this policy violates my Christian faith
and why I cannot, in good conscience, take part in it.
It is my sincere personal religious belief that human life begins at conception, that
the sanctity of life is precious to God and that it is a moral sin to destroy innocent
human life. The three COVID vaccines were either developed or tested using fetal
cells that originated in abortion. My religious view has always been and continues
to be that abortion is murder and a sin against God. I must consider the moral
aspects of the use of all vaccines that have connection to fetal cell lines obtained
from an abortion.
As a Christian, I live life everyday through my faith in God and the Bible, which I
believe to be God’s revealed and inspired Word (2 Timothy 3:12-17). In 1
Corinthians 6:19-20, the Apostle Paul addresses Christians about the importance
of their bodies: “Or do you not know that your body is the temple of the Holy
Spirit who is in you, whom you have from God? You are not your own, for you
were bought with a price. Therefore, glorify God in your body.” It is my utmost
belief that my body belongs to God and my sincerely held personal religious belief
that God will heal my temple by living my faith and trusting in God—not man.
These scriptures and my personal religious beliefs are a few examples of why I
must honor God with my body, mind, and spirit. I have been a Christian for many
years and my beliefs are genuine and sincere. I have done my best to live by the
Bible’s teachings my entire life. I firmly believe that to go against these teachings,
would be a terrible sin and distance my relationship with God.
Case 2:23-cv-12023-DML-EAS ECF No. 18, PageID.132 Filed 01/19/24 Page 26 of 26




Through the power of prayer and the guidance of the Holy Spirit, I have prayed
about how to respond to the COVID-19 vaccine requirement. The Holy Spirit has
spoken to me through my heart that I must not accept the vaccine. If I go against
the guidance of the Holy Spirit I would be sinning and violating the sanctity of my
conscience.
Therefore, I am requesting a religious accommodation to my sincerely held
personal religious beliefs that I cannot take part in any of the available COVID-19
vaccines.
Respectfully,
